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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
CITIZENS FOR RESPONSIBILITY AND         )
ETHICS IN WASHINGTON,                   )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )    Civil Action No. 18-1766 (RBW)
                                        )
U.S. DEPARTMENT OF JUSTICE,             )
                                        )
            Defendant.                  )
_______________________________________)

                                            ORDER

       In accordance with the oral rulings issued by the Court at the status conference held on

November 14, 2019, it is hereby

       ORDERED that the defendant’s Motion for Partial Summary Judgment, ECF No. 24, is

DENIED AS MOOT. It is further

       ORDERED that the Clerk of the Court shall UNSEAL the Declaration of Stephen F.

Lyons, ECF No. 27. It is further

       ORDERED that, beginning December 1, 2019, the United States Department of Justice

Office of the Inspector General shall, on a monthly basis, process 200 pages of potentially

responsive records and produce any responsive, non-exempt records to the plaintiff. It is further

       ORDERED that the parties shall appear before the Court for a status conference on

February 26, 2020, at 11:30 a.m.

       SO ORDERED this 15th day of November, 2019.



                                                            REGGIE B. WALTON
                                                            United States District Judge
